BP:New York Stock Quote - BP PLC - Bloomberg                           Page 1 of 2
     Case 2:10-md-02179-CJB-DPC Document 4457-12 Filed 11/01/11 Page 1 of 4




MARKET SNAPSHOT
 U.S.       EUROPE       ASIA
 DOW             11,808.80   +267.01 2.31%
 S&P 500          1,238.25   +22.86 1.88%
 NASDAQ           2,637.46   +38.84 1.49%

 Nasdaq 2,637.46 +1.49%              Dow 11,808.80 +2.31%   S&P 500 1,238.25 +1.88%      FTSE 100 5,488.65 +1.93%      STOXX 50 2,337.51 +2.89%   DAX 5,970.96



                                              Our Company    Professional     Anywhere                                                                           Sign in


                                                                                                                    Search News, Quotes and Opinion

Exchange:New York
Sector:Energy
Industry:Oil&Gas
Sub-Industry:Oil Comp-Integrated
BP PLC
Add to Portfolio
BP:US
42.3500 USD 1.0300 2.49%
As of 20:04 10/21/2011. All times are ET. Market data is delayed by at least 15 minutes.
Snapshot
Chart
Company Profile
& Executives
Browse All Companies
Advertisements




Snapshot for BP PLC (BP:US)
     Open      41.5600Day's Range41.5000 - 42.4700 Volume 10,835,809 Bid 42.3500
Previous Close41.320052wk Range33.6200 - 49.50001-Yr Rtn7.57%       Ask42.3500
Stock Chart for BP:US
BP:US 42.35
Compare
1D
1M
1Y
                                                                            42.50




                                                                            42.00




                                                                            41.50




                                                                            41.00
10/21 9am         10am        11am        12pm     1pm      2pm      3pm



41.32
…
Previous Close

Company Profile & Key Executives for BP:US
BP plc is an oil and petrochemicals company. The Company explores for and produces oil and natural
gas, refines, markets, and supplies petroleum products, generates solar energy, and manufactures and
markets chemicals. BP's chemicals include terephthalic acid, acetic acid, acrylonitrile, ethylene and
polyethylene.
Carl-henric Svanberg CHAIRMAN
Robert W Dudley GROUP CHIEF EXECUTIVE OFFICER
Byron E Grote CHIEF FINANCIAL OFFICER
David J Jackson SECRETARY
Key Statistics for BP:US
                                     BP:US      Sector
             Current P/E             -          9.7082
          Relative P/E (ttm)         -          -
       Estimated P/E (12/11)         6.3732     -
   PEG ratio (3 years expected) 1.2870          -
           Market Cap (M)            133,824.90-
    Enterprise Value (M) (ttm)       -          -
Enterprise Value/EBITDA (M) (ttm)-              -
          Price/Book (mrq)           -          1.5906
          Est. EPS (12/11)           6.6450     -
        Dividend Yield (ttm)         2.9752     -
Abbreviations:
mrq = Most Recent Quarter




http://www.bloomberg.com/quote/BP:US                                                                                                                  10/22/2011
BP:New York Stock Quote - BP PLC - Bloomberg                           Page 2 of 2
     Case 2:10-md-02179-CJB-DPC Document 4457-12 Filed 11/01/11 Page 2 of 4



                                       MORE FROM BLOOMBERG                                     COMPANY

                                       Bloomberg Businessweek   Bloomberg Link                 About Bloomberg   Help
         Bloomberg on
         Facebook                      Business Exchange        Bloomberg Markets Magazine     Careers           Sitemap

         Follow Bloomberg              Bloomberg Briefs         Bloomberg Mart                 Press Room        Trademarks
         on Twitter                    Bloomberg Government     Bloomberg New Energy Finance   Advertising       Feedback

         Follow Bloomberg              Bloomberg HT             Bloomberg Open Symbology       Contact Us        Terms of Service
         on LinkedIn                   Bloomberg Institute      Bloomberg Press                关于彭博中国            Privacy Policy
                                       ブルームバーグ(日本語)             Bloomberg Sports               会社概要(日本語)
                                       Bloomberg Law            Jobs by Indeed




      Rate this Page                   ©2011 BLOOMBERG L.P. ALL RIGHTS RESERVED.               Made in NYC



Q
What is the queue?
More »Items In Your queue
This is your Bloomberg Queue
The queue will help you find news, save stories for later and take them with you
Learn MoreClose
More » New Suggestions




http://www.bloomberg.com/quote/BP:US                                                                                                10/22/2011
RIG:New York Stock Quote - Transocean Ltd/Switzerland - Bloomberg      Page 1 of 2
     Case 2:10-md-02179-CJB-DPC Document 4457-12 Filed 11/01/11 Page 3 of 4




MARKET SNAPSHOT
 U.S.       EUROPE       ASIA
 DOW             11,808.80   +267.01 2.31%
 S&P 500          1,238.25   +22.86 1.88%
 NASDAQ           2,637.46   +38.84 1.49%

old 1,636.10 +1.44%          EUR : USD 1.3896 0.8382%      Nasdaq 2,637.46 +1.49%       Dow 11,808.80 +2.31%   S&P 500 1,238.25 +1.88%     FTSE 100 5,488.65 +1



                                             Our Company    Professional     Anywhere                                                                             Sign in


                                                                                                                   Search News, Quotes and Opinion

Exchange:New York
Sector:Energy
Industry:Oil&Gas
Sub-Industry:Oil&Gas Drilling
Transocean Ltd/Switzerland
Add to Portfolio
RIG:US
54.4300 USD 1.4000 2.64%
As of 20:04 10/21/2011. All times are ET. Market data is delayed by at least 15 minutes.
Snapshot
Chart
Company Profile
& Executives
Browse All Companies
Advertisements




Snapshot for Transocean Ltd/Switzerland (RIG:US)
     Open      53.8300Day's Range53.3700 - 56.0000 Volume 8,744,164 Bid 54.5200
Previous Close53.030052wk Range43.1500 - 85.98001-Yr Rtn-14.30% Ask54.5300
Stock Chart for RIG:US
RIG:US 54.43
Compare
1D
1M
1Y

                                                                           56.00




                                                                           54.00




                                                                           52.00
10/21 9am         10am        11am     12pm      1pm       2pm       3pm



53.03
…
Previous Close

Company Profile & Key Executives for RIG:US
Transocean Ltd. is an offshore drilling contractor. The Company owns or operates mobile offshore
drilling units, inland drilling barges, and other assets utilized in the support of offshore drilling activities
worldwide. Transocean specializes in technically demanding segments of the offshore drilling business,
including deepwater and harsh environment drilling services.
J Michael Talbert CHAIRMAN
Steven L Newman PRESIDENT/CEO
Ricardo Horacio Rosa EXEC VP/CFO
Ihab Toma EXEC VP:OPERATIONS
Key Statistics for RIG:US
                                         RIG:US Sector
              Current P/E                18.3266 9.7082
           Relative P/E (ttm)            1.3769 -
         Estimated P/E (12/11)           16.3257 -
    PEG ratio (3 years expected) 0.4139 -
            Market Cap (M)               17,407.32-
      Enterprise Value (M) (ttm)         25,153.32-
Enterprise Value/EBITDA (M) (ttm)7.82              -
           Price/Book (mrq)              0.8330 1.5906
            Est. EPS (12/11)             3.3340 -
          Dividend Yield (ttm)           2.8980 -
Abbreviations:
mrq = Most Recent Quarter




http://www.bloomberg.com/quote/RIG:US                                                                                                                10/22/2011
RIG:New York Stock Quote - Transocean Ltd/Switzerland - Bloomberg      Page 2 of 2
     Case 2:10-md-02179-CJB-DPC Document 4457-12 Filed 11/01/11 Page 4 of 4



                                       MORE FROM BLOOMBERG                                     COMPANY

                                       Bloomberg Businessweek   Bloomberg Link                 About Bloomberg   Help
         Bloomberg on
         Facebook                      Business Exchange        Bloomberg Markets Magazine     Careers           Sitemap

         Follow Bloomberg              Bloomberg Briefs         Bloomberg Mart                 Press Room        Trademarks
         on Twitter                    Bloomberg Government     Bloomberg New Energy Finance   Advertising       Feedback

         Follow Bloomberg              Bloomberg HT             Bloomberg Open Symbology       Contact Us        Terms of Service
         on LinkedIn                   Bloomberg Institute      Bloomberg Press                关于彭博中国            Privacy Policy
                                       ブルームバーグ(日本語)             Bloomberg Sports               会社概要(日本語)
                                       Bloomberg Law            Jobs by Indeed




      Rate this Page                   ©2011 BLOOMBERG L.P. ALL RIGHTS RESERVED.               Made in NYC



Q
What is the queue?
More »Items In Your queue
This is your Bloomberg Queue
The queue will help you find news, save stories for later and take them with you
Learn MoreClose
More » New Suggestions




http://www.bloomberg.com/quote/RIG:US                                                                                               10/22/2011
